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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                Case No. 1:17-cr-19-MW-GRJ

LANEY ELLIS

____________________________/

                    REPORT AND RECOMMENDATION

      On this date, the Defendant, LANEY ELLIS, her attorney, and the

attorney for the Government appeared before the undersigned for the

purpose of considering Defendant’s entry of a guilty plea to child sex

trafficking, in violation of 18 U.S.C. §§ 1591(a)(1), (b)(2), and 2, as charged

in Count 2 of the Superseding Indictment. The district judge referred this

matter to the undersigned for purposes of hearing Defendant's proposed

plea pursuant to Fed. R. Crim. P. 11, and to enter a report and

recommendation as to whether to accept the plea. All parties consented to

this procedure, and the written consent has been entered.

      The Court addressed Defendant personally in open court, and after

assuring that Defendant was competent to proceed and had consented to

pleading guilty, the Court finds:
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      1. Defendant is mentally alert, appears to be reasonably intelligent,

and understands the nature of the charges as to which the plea is offered

and the consequences of a guilty plea.

      2. Defendant understands that she has a right to trial by jury, to

persist in her plea of not guilty, to assistance of counsel at trial, to confront

and cross-examine adverse witnesses, and that she has a right against

compelled self-incrimination.

      3. Defendant understands the maximum possible sentence she faces

if the guilty plea is accepted, including the effect of the supervised release

term, and understands that the sentencing guidelines apply and that the

court may depart from those guidelines under some circumstances.

      4. The plea of guilty by the Defendant has been freely, knowingly,

and voluntarily made and is not the result of force or threats or of any

promises except for those promises contained in the written plea

agreement between the parties.

      5. Defendant is competent to plead guilty.

      6. Defendant understands that her answers during the plea colloquy,

which were under oath, may be later used against her in a prosecution for

perjury or false statement.
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      7. There is a factual basis for Defendant’s guilty plea.

      8. There is a plea agreement which should be accepted by the

district court. Defendant understands the terms of the plea agreement.

      9. Defendant has made her decision to plead guilty with the advice

and counsel of a competent attorney with whom Defendant acknowledged

she was satisfied.

     10. Defendant has voluntarily consented to go forward with her plea

of guilty before the undersigned. She understands that she has waived the

ten-day period for filing objections to this report and recommendation, and

she agrees that she has twenty-four hours from receipt of a copy of this

report and recommendation in which to file written objections, if any. The

United States also consents to this procedure, including

the shorter period for objections.

      Accordingly, it is RECOMMENDED that the Court ACCEPT the plea

agreement and Defendant’s plea of guilty.

   IN CHAMBERS at Gainesville, Florida, this 20th day of February 2018.



                                     s/ Gary R. Jones
                                     GARY R. JONES
                                     United States Magistrate Judge
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                      NOTICE TO THE PARTIES

      A party may file specific, written objections to the proposed
findings and recommendations within 24 hours after receiving a copy of
this report and recommendation.
